                                                                                  Case 2:22-cv-09426-JWH-JC Document 54 Filed 10/13/23 Page 1 of 8 Page ID #:1770




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                                                                                     5
                                                                                       Attorneys for Defendants ONNI REAL
                                                                                     6 ESTATE IX, LLC and ONNI REAL
                                                                                       ESTATE HOLDINGS LTD
                                                                                     7
                                                                                     8                               UNITED STATES DISTRICT COURT
                                                                                     9            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                                                                                    10
                                                                                    11 BRITTANY A. STILLWELL,                       Case No. 2:22-CV-09426-JWH-JC
WOOD, SMITH, HENNING & BERMAN LLP

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                                                                                    12                      Plaintiff,              NOTICE OF MOTION AND
                                                                                                                                    MOTION TO DISMISS
                                                                                    13            v.                                PLAINTIFF’S FIRST AMENDED
                                                  Attorneys at Law




                                                                                                                                    COMPLAINT BY DEFENDANTS
                                                                                    14 CITY OF LOS ANGELES, a municipal             ONNI REAL ESTATE IX, LLC AND
                                                                                       entity; ONNI REAL ESTATE IX, LLC,            ONNI REAL ESTATE HOLDINGS
                                                                                    15 a Delaware limited liability company;        LTD; MEMORANDUM OF POINTS
                                                                                       ONNI REAL ESTATE HOLDINGS                    & AUTHORITIES
                                                                                    16 LTD, a Canadian limited corporation;
                                                                                       KIMBALL, TIREY & ST. JOHN, LLP,              Date: December 5, 2023
                                                                                    17 a Louisiana Debt Collection Agency;          Time: 9:30 a.m.
                                                                                       CHRIS JAMES EVANS, an individual;            Crtrm.: 750
                                                                                    18 and DOES 1 through 50 INCLUSIVE,
                                                                                                                                    The Hon. John w. Holcomb
                                                                                    19                      Defendants.
                                                                                                                                    Trial Date:        None Set
                                                                                    20
                                                                                    21            TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                                                                    22            PLEASE TAKE NOTICE THAT on December 5 at 9:30 a.m., or soon
                                                                                    23 thereafter, in Courtroom 750 of the United States Courthouse for the Central District
                                                                                    24 of California, located at the Roybal Federal Building and United States Courthouse,
                                                                                    25 255 East Temple Street, Los Angeles, CA, 90012, the Honorable Jacqueline
                                                                                    26 Chooljian, United States District Court Magistrate Judge, presiding, Defendants
                                                                                    27 ONNI REAL ESTATE IX, LLC and ONNI REAL ESTATE HOLDINGS LTD
                                                                                    28 (hereinafter collectively "Onni") will and hereby do move to dismiss the First
                                                                                         29966820.1:10784-1223
                                                                                             NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT BY
                                                                                                 DEFENDANTS ONNI REAL ESTATE IX, LLC AND ONNI REAL ESTATE HOLDINGS LTD
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                                                                                     1 Amended Complaint and accompanying Exhibits (ECF Nos. 47 – 49-3), filed by
                                                                                     2 Plaintiff Brittany Stillwell (Plaintiff) on September 22, 2023, to the extent asserted
                                                                                     3 against Onni.
                                                                                     4            This Motion is made and requested on the following grounds:
                                                                                     5            1.        The entire First Amended Complaint, as against Onni:
                                                                                     6            A.        The allegations in the First Amended Complaint fail to satisfy Federal
                                                                                     7 Rule of Civil Procedure 8, which requires a claim to contain “a short and plain
                                                                                     8 statement of the grounds for the court’s jurisdiction” and “a short and plain statement
                                                                                     9 of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(1), (2);
                                                                                    10 Fed. R. Civ. P. 8(d)(1).
                                                                                    11            B.        The form of the First Amended Complaint fails to comply with the
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                                                                                    12 Court’s September 5, 2023 Order (ECF No. 45.) because it is not a “short and plain”
                                                                                    13 statement of each claim for relief showing that [Stillwell] is entitled to relief, each
                                                  Attorneys at Law




                                                                                    14 allegation is not “simple, concise and direct.” Fed. R. Civ. P. 8(a)(1), (2); Fed. R. Civ.
                                                                                    15 P. 8(d)(1); Fed. R. Civ. P. 41.
                                                                                    16            This motion is based on this Notice of Motion; Memorandum of Points and
                                                                                    17 Authorities; the pleadings and papers filed in this action; and such further argument
                                                                                    18 and evidence as may be properly offered at or before the hearing on this motion.
                                                                                    19            Local Rule 7-3 Conference: The parties met and conferred regarding Onni’s
                                                                                    20 motion on October 4, 2023. The parties were unable to reach a resolution that
                                                                                    21 eliminates the necessity of a hearing on Onni's motion.
                                                                                    22 DATED: October 13, 2023                    WOOD, SMITH, HENNING & BERMAN LLP
                                                                                    23
                                                                                    24                                            By:
                                                                                    25                                                     FRED R. VASQUEZ
                                                                                                                                           CHRISTINA LONI
                                                                                    26                                            Attorneys for Defendants ONNI REAL
                                                                                    27                                            ESTATE IX, LLC and ONNI REAL ESTATE
                                                                                                                                  HOLDINGS LTD
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                                                                                         29966820.1:10784-1223                          -2-
                                                                                             NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT BY
                                                                                                 DEFENDANTS ONNI REAL ESTATE IX, LLC AND ONNI REAL ESTATE HOLDINGS LTD
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                                                                                     1                       MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                     2 I.         INTRODUCTION
                                                                                     3            Plaintiff Brittany Stillwell (hereinafter “Plaintiff”) filed her initial complaint in
                                                                                     4 this matter on December 22, 2022. Plaintiff’s initial complaint contained 220 pages
                                                                                     5 with 793 paragraphs and an additional 124 pages of included exhibits. Defendants
                                                                                     6 ONNI REAL ESTATE IX, LLC and ONNI REAL ESTATE HOLDINGS LTD
                                                                                     7 (hereinafter collectively “Onni”) successfully moved to dismiss Plaintiff’s Complaint
                                                                                     8 pursuant to Federal Rule of Civil Procedure (hereinafter “FRCP”), 8. In granting
                                                                                     9 Onni’s Motion, Plaintiff was provided leave to amend and directed to comply with
                                                                                    10 FRCP 8. Upon receipt and review of Plaintiff’s First Amended Complaint (hereinafter
                                                                                    11 “FAC”), it is clear that the FAC remains in violation of FRCP 8 and the Court’s Order
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                                                                                    12 directing Plaintiff to set forth a “short and plain” statement. Not only is the FAC still
                                                                                    13 185 pages with 729, but there are an additional 144 pages of exhibits.
                                                  Attorneys at Law




                                                                                    14            It would be highly prejudicial and impractical to prepare a substantive response
                                                                                    15 to the FAC on behalf of Onni. Accordingly, for the reasons set forth below, defendants
                                                                                    16 move to dismiss the complaint under FRCP 8.
                                                                                    17 II.        ANALYSIS
                                                                                    18            A.        FEDERAL RULE OF CIVIL PROCEDURE 8
                                                                                    19            FRCP 8(a)(2) requires a pleader to set forth “a short and plain statement of the
                                                                                    20 claim showing the pleader is entitled to relief”. FRCP 8(d)(1) further requires that
                                                                                    21 “each allegation be simple, concise, and direct.” Complaints that violate these
                                                                                    22 requirements of FRCP 8 are subject to dismissal under FRCP 41(b). (Cafasso, U.S.
                                                                                    23 ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1058 (9th Cir. 2011); McHenry
                                                                                    24 v. Renne, 84 F.3d 1172, 1177-1180 (9th Cir. 1996); Hatch v. Reliance Ins. Co., 758-
                                                                                    25 F.2d 409, 415 (9th Cir. 1985); Mevijel v. N. Coast Life Ins. Co., 651 F.2d 671, 673
                                                                                    26 (9th Cir. 1981).) As aptly explained in McHenry v. Renne, supra, at 1179-80:
                                                                                    27
                                                                                    28
                                                                                         29966820.1:10784-1223                         -3-
                                                                                             NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT BY
                                                                                                 DEFENDANTS ONNI REAL ESTATE IX, LLC AND ONNI REAL ESTATE HOLDINGS LTD
                                                                                  Case 2:22-cv-09426-JWH-JC Document 54 Filed 10/13/23 Page 4 of 8 Page ID #:1773




                                                                                     1         Prolix, confusing complaints such as the ones plaintiffs filed in this case
                                                                                               impose unfair burdens on litigants and judges. As a practical matter, the
                                                                                     2         judge and opposing counsel, in order to perform their responsibilities,
                                                                                               cannot use a complaint such as the one plaintiffs filed, and must prepare
                                                                                     3         outlines to determine who is being sued for what. Defendants are then
                                                                                               put at risk that their outline differs from the judge's, that plaintiffs will
                                                                                     4         surprise them with something new at trial which they reasonably did not
                                                                                               understand to be in the case at all, and that res judicata effects of
                                                                                     5         settlement or judgment will be different from what they reasonably
                                                                                               expected.... The judge wastes half a day in chambers preparing the “short
                                                                                     6         and plain statement” which Rule 8 obligated plaintiffs to submit.
                                                                                     7         ...
                                                                                     8         Something labeled a complaint but written more as a press release, prolix
                                                                                               in evidentiary detail, yet without simplicity, conciseness and clarity as to
                                                                                     9         whom plaintiffs are suing for what wrongs, fails to perform the essential
                                                                                               functions of a complaint.
                                                                                    10
                                                                                    11         As a general proposition, length is not by itself a sufficient basis for dismissing
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                                                                                    12 a complaint. (Hearns v. San Bernardino Police Dep't, 530 F.3d 1124, 1131 (9th Cir.
                                                                                    13 2008) [holding that an 81-page complaint did not violate Rule 8 because it was
                                                  Attorneys at Law




                                                                                    14 logically organized and clearly identified the acts each defendant was alleged to have
                                                                                    15 committed.])
                                                                                    16         However, the Ninth Circuit has “never held...that a pleading may be of
                                                                                    17 unlimited length and opacity.” (Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc.,
                                                                                    18 637 F.3d 1047, 1058 (9th Cir. 2011) [distinguishing Hearns on the basis that the
                                                                                    19 complaint at issue was nine times longer than the complaint in Hearns]; see also Wolf
                                                                                    20 v. Travolta, No. 2:14-CV-938-CAS VBKX, 2015 WL 1525258, at *2 (C.D.Cal. Apr,
                                                                                    21 1, 2015) [holding that a 393-page complaint violates the “letter and spirit of the
                                                                                    22 Federal Rules, and would not place the parties, the Court, or a mediator in a position
                                                                                    23 to expeditiously advance the resolution of this litigation”.])
                                                                                    24         As explained by the Ninth Circuit in Cafasso, U.S. ex rel. v. Gen. Dynamics C4
                                                                                    25 Sys., Inc., supra, an excessively long complaint burdens the adversary with the
                                                                                    26 “onerous task of combing through a 733-page pleading just to prepare an answer that
                                                                                    27 admits or denies such allegations, and to determine what claims and allegations must
                                                                                    28 be defended or otherwise litigated.” (Id., 637 F.3d at 1059.) In addition, an excessively
                                                                                       29966820.1:10784-1223                       -4-
                                                                                           NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT BY
                                                                                               DEFENDANTS ONNI REAL ESTATE IX, LLC AND ONNI REAL ESTATE HOLDINGS LTD
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                                                                                     1 long complaint “prejudices the opposing party and may show bad faith of the movant,
                                                                                     2 both valid grounds to deny leave to amend.” (Id.)
                                                                                     3            Accordingly, complaints--such as Plaintiff's, that violate Rule 8 are subject to
                                                                                     4 dismissal by the Court under FRCP 41(b).
                                                                                     5            The Court typically grants leave to amend to provide the pleader at least one
                                                                                     6 opportunity to comply with FRCP 8. (Nevijel v. N. Coast Life Ins. Co., 651 F.2d 671,
                                                                                     7 674 (9th Cir. 1981) [prior to dismissing the complaint with prejudice,' the court should
                                                                                     8 consider “less drastic alternatives” such as leave to amend or insisting that plaintiff
                                                                                     9 associate counsel.])
                                                                                    10            Leave to amend may be granted subject to reasonable restrictions. (Gottschalk
                                                                                    11 v. City & Cty. of San Francisco, 964 F. Supp. 2d 1147, 1155 (N.D. Cal. 2013).)
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                                                                                    12            B.        ONNI IS ENTITLED TO THE RELIEF REQUESTED BECAUSE
                                                                                    13                      PLAINTIFF'S 1,000-PLUS PAGE COMPLAINT VIOLATES
                                                  Attorneys at Law




                                                                                    14                      FRCP 8.
                                                                                    15            Plaintiff's complaint unquestionably violates FRCP 8. The complaint is
                                                                                    16 approximately 220 pages long, not including its 124 pages of exhibits, and riddled
                                                                                    17 with vitriolic, unnecessary personal attacks and unsubstantiated allegations. The
                                                                                    18 allegations common to all causes of action include 584 paragraphs with multiple
                                                                                    19 subparts each of which fails to clearly identify the defendant(s) against whom each
                                                                                    20 claim is asserted.
                                                                                    21            In addition to its sheer length and illogical organization, the FAC is replete with
                                                                                    22 redundancy, argument, conclusions, irrelevant, and other inappropriate matters.
                                                                                    23 Plaintiff does not allege specific facts showing any action or failure by Onni violating
                                                                                    24 Plaintiff’s civil rights, or any official pattern or practice of Onni violating Plaintiff’s
                                                                                    25 civil rights. Without such particulars, Onni cannot discern the substance of any
                                                                                    26 purported claim against Onni. Id. (“[L]ength may make a complaint unintelligible, by
                                                                                    27 scattering and concealing in a morass of irrelevancies the few allegations that
                                                                                    28 matter.”).
                                                                                         29966820.1:10784-1223                        -5-
                                                                                             NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT BY
                                                                                                 DEFENDANTS ONNI REAL ESTATE IX, LLC AND ONNI REAL ESTATE HOLDINGS LTD
                                                                                  Case 2:22-cv-09426-JWH-JC Document 54 Filed 10/13/23 Page 6 of 8 Page ID #:1775




                                                                                     1            Neither the Court nor Onni should be required to wade through the FAC and
                                                                                     2 respond to each of the cumulative, argumentative and vexatious allegations.
                                                                                     3 Accordingly, the FAC should be dismissed.
                                                                                     4            C.        THE COMPLAINT SHOULD BE DISMISSED. IF LEAVE TO
                                                                                     5                      AMEND IS GRANTED, IT SHOULD BE ON CONDITIONS.
                                                                                     6            On this basis, Onni requests an order dismissing Plaintiff’s FAC pursuant to
                                                                                     7 FRCP 8(a)(2), FRCP 8(d)(1) and FRCP 41 because Plaintiff's FAC, as drafted, is 220
                                                                                     8 pages long, is completely incoherent, and is replete with malicious, vitriolic,
                                                                                     9 irrelevant, and inflammatory allegations, all of which without reasonable basis or
                                                                                    10 cause, in violation of law.
                                                                                    11            Notwithstanding the length of the Complaint, The Court must respectfully
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                                                                                    12 dismiss the Complaint.
                                                                                    13
                                                  Attorneys at Law




                                                                                    14 DATED: October 13, 2023                  WOOD, SMITH, HENNING & BERMAN LLP
                                                                                    15
                                                                                    16
                                                                                                                                By:
                                                                                    17
                                                                                                                                         FRED R. VASQUEZ
                                                                                    18                                                   CHRISTINA LONI
                                                                                    19                                          Attorneys for Defendants ONNI REAL
                                                                                                                                ESTATE IX, LLC and ONNI REAL ESTATE
                                                                                    20                                          HOLDINGS LTD
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                                                                                                                                         L EGAL :05000-
                                                                                                 DEFENDANTS ONNI REAL ESTATE IX, LLC AND ONNI         0840/14170534.
                                                                                                                                                    REAL     ESTATE1 HOLDINGS LTD
                                                                                  Case 2:22-cv-09426-JWH-JC Document 54 Filed 10/13/23 Page 7 of 8 Page ID #:1776




                                                                                     1                                        PROOF OF SERVICE
                                                                                     2                           Brittany A. Stillwell v. City of Los Angeles, et al.
                                                                                                                        Case No. 2:22-CV-09426-JWH-JC
                                                                                     3
                                                                                              I am employed in the County of San Bernardino, State of California. I am
                                                                                     4 over the age of eighteen years and not a party to the within action. My business
                                                                                       address is 9333 Fairway View Place, Suite 200, Rancho Cucamonga, CA 91730-
                                                                                     5 3824.
                                                                                     6     On October 13, 2023, I served the following document(s) described as
                                                                                       NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST
                                                                                     7 AMENDED COMPLAINT BY DEFENDANTS ONNI REAL ESTATE IX,
                                                                                       LLC AND ONNI REAL ESTATE HOLDINGS LTD; MEMORANDUM OF
                                                                                     8 POINTS & AUTHORITIES on the interested parties in this action as follows:
                                                                                     9                                  SEE ATTACHED SERVICE LIST
                                                                                    10        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                                                                                       the document(s) with the Clerk of the Court by using the CM/ECF system.
                                                                                    11 Participants in the case who are registered CM/ECF users will be served by the
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                                    RANCHO CUCAMONGA, CALIFORNIA 91730-3824




                                                                                       CM/ECF system. Participants in the case who are not registered CM/ECF users will
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                                                                                    12 be served by mail or by other means permitted by the court rules.
                                                                                    13       I declare under penalty of perjury under the laws of the United States of
                                                  Attorneys at Law




                                                                                       America that the foregoing is true and correct and that I am employed in the office
                                                                                    14 of a member of the bar of this Court at whose direction the service was made.
                                                                                    15            Executed on October 13, 2023, at Rancho Cucamonga, California.
                                                                                                                                                        I
                                                                                    16
                                                                                                                                                    w

                                                                                    17
                                                                                                                                          Erin M. Peterson
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                                                                                                 DEFENDANTS ONNI REAL ESTATE IX, LLC AND ONNI REAL ESTATE HOLDINGS LTD
                                                                                  Case 2:22-cv-09426-JWH-JC Document 54 Filed 10/13/23 Page 8 of 8 Page ID #:1777




                                                                                     1                                            SERVICE LIST
                                                                                                                 Brittany A. Stillwell v. City of Los Angeles, et al.
                                                                                     2                                  Case No. 2:22-CV-09426-JWH-JC
                                                                                     3 Brittany Stillwell                     Hydee Feldstein Soto, Esq.
                                                                                       8 Century Avenue, IFC Tower 2, Floor 8 Terry P. Kaufman Macias, Esq.
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                                                                                       200120                                 Elanie Zhong, Esq.
                                                                                     5 Tel: (702) 907-1908                    Office of the Los Angeles City Attorney
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                                                                                     6 IN PRO PER                             City Hall East Room 701
                                                                                                                              Los Angeles, CA 90012-4131
                                                                                     7                                        Tel: (213) 978-8235 / Fax: (213)978-
                                                                                                                              8090
                                                                                     8                                        E-mail: steve.blau@lacity.org
                                                                                                                                       elaine.zhong@lacity.org
                                                                                     9                                        Attorneys for Defendant CITY OF
                                                                                                                              LOS ANGELES
                                                                                    10
                                                                                    11
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                                                  Attorneys at Law




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                                                                                             NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT BY
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